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                  EXHIBIT 5
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     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
                                                                     -   -   -   -   -   X

     VIRGINIA L. GIUFFRE ,


                           Plaintiff ,
                                                                     Case No.:
             - against -                                             15-cv - 0 7433 - RWS


     GHISLAINE MAXWELL ,


                           Defendants.


     -   -   -    -    -   -   -   -   -    -   -    -   -   -   -   -   -   -   -   -   X



                                           **CONFIDENTIAL**


                           Videotaped deposition of GHISLAINE
                 MAXWELL, taken pursuant to subpoena , was
                 held at the law offices of BOIES
                 SCHILLER          &   FLEXNER, 575 Lexington
                 Avenue, New York, New York , commencing
                 April 22, 2016,                    9:04 a.m., on the above
                 date , before Leslie Fagin , a Court
                 Reporter and Notary Public in the State
                 of New York.



                           MAGNA LEGAL SERVICES
                  12 0 0 Avenue of the Americas
                      New York, New York 10026




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                                                                Page 2
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19             LAURA A. MENNINGER, ESQUIRE
20
21   Also Present:
22       James Christe , videographer
23
24
25




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                                                               Page 82
 1              G Maxwell - Confidential
 2         Q.     Did you train Virginia on how to

 3   recruit other girls to perform sexual

 4   massages?

 5                MR. PAGLIUCA:     Objection to the

 6         form and foundation.

 7         A.     No.    And it 1 s absurd and her entire

 8   story is one giant tissue of lies and

 9   furthermore,       she herself has        if she says

10   that , you have to ask her about what she did .

11         Q.     Does Jeffrey like to have his

12   nipples pinched during sexual encounters?

13                MR. PAGLIUCA:     Objection to form

14         and foundation.

15         A.     I 1 m not referring to any advice on

16   my counsel.        I'm not talking about any adult

17   sexual things when I was with him.

18         Q.     When Jeffrey would have a massage,

19   would he request that the masseuse pinch his

20   nipples while he was having a massage?

21         A.     I 1 m not talking about anything with

22   consensual adult situation.

23         Q.     What about with underage

24         A.     I am not aware of anything.

25         Q.     You are not aware of Jeffrey




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